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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                                )
                                                         )
                        Plaintiff,                       )              8:05CR282
                                                         )
        vs.                                              )               ORDER
                                                         )
WILLIAM SCHWENING and                                    )
RUSSELL HOFFMANN,                                        )
                                                         )
                        Defendants.                      )


         This matter is before the court following a telephone conference with counsel on March 7,
2006. The United States was represented by Assistant U.S. Attorney Jan W. Sharp. Defendant
William Schwening (Schwening) was represented by Charles O. Forrest. Defendant Russell
Hoffmann (Hoffmann) was represented by Richard E, Greenberg. The parties jointly orally moved
for a continuance of the trial of this matter. Schwening and Hoffmann both filed an affidavit wherein
they consented to the motion and acknowledged they understood the additional time would be
excludable time for the purposes of the Speedy Trial Act (Filing Nos. 68 and 69). The motion to
continue is granted.
         IT IS ORDERED:
         1.      The joint oral motion to continue the trial of this matter is granted.
         2.      Trial of this matter is re-scheduled for July 10, 2006, before Chief Judge Joseph F.
Bataillon and a jury. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between March 13, 2006 and July 10, 2006, shall
be deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason that defendant's counsel requires additional time to adequately prepare the case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
         IT IS FURTHER ORDERED:
         The parties shall participate in a Fed.R.Crim.P. 17.1 conference by telephone on June 16,
2006, at 2:00 p.m. (Central Daylight Time) with Magistrate Judge F.A. Gossett. Counsel for the
government shall initiate the telephone conference. The purpose of the conference is to expedite
the handling of exhibits at the time of trial. To that end, counsel shall provide to Magistrate Judge
Gossett a joint exhibit list on which each party shall list the exhibits which that party intends to offer
in its case-in-chief at trial and any objections any party has to any other party’s listed exhibits.
Government’s exhibits shall be listed and marked commencing at Number 1 and defendants’
exhibits shall be listed and marked commencing at Number 101 (or the next 100 sequence if the
government’s exhibits exceed 100). At least 24 hours prior to the 17.1 conference, counsel shall
provide a copy of that party’s exhibits to counsel for all other parties. Counsel for the government
shall provide a copy of this joint exhibit list to Magistrate Judge Gossett no later than noon on
June 15, 2006.
         DATED this 13th day of March, 2006.
                                                          BY THE COURT:
                                                           s/Thomas D. Thalken
                                                          United States Magistrate Judge
